WARFIELD-PRATT-HOWELL CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Warfield-Pratt-Howell Co. v. CommissionerDocket Nos. 10191, 19194.United States Board of Tax Appeals13 B.T.A. 305; 1928 BTA LEXIS 3271; September 10, 1928, Promulgated *3271  Deduction from closing inventories for 1918 and 1919, and from opening inventory for 1919 on account of average cash discounts allowed by vendors of merchandise not consistent with the accounting practice of the petitioner and did not reflect true taxable income for such years.  The respondent's action in adding such deduction to taxable income for the several years involved is approved.  M. J. Holland, Esq., for the petitioner.  Arthur H. Murray, Esq., for the respondent.  LANSDON *305  This proceeding results from the determination by respondent of deficiencies for 1918 and 1919, in the amounts of $17,028.67 and $6,135.97, respectively.  The issues are: (1) Additions to the inventories of 1918 and 1919 of the amounts of $36,903.73 and $44,106.17, respectively, through disallowance of the deductions taken for cash discounts; (2) reduction of earned surplus for invested capital purposes at the beginning of 1918 by $82,806.56, on account of inadequate depreciation charged off in prior years; and (3) reduction of invested capital for 1918 on account of the income and profits-tax liability of the preceding year.  The third issue was abandoned by the*3272  petitioner at the hearing.  The parties have stipulated that of the total reduction of invested capital for 1918, on account of inadequate depreciation charged off in prior years, to wit, $82,806.56, there should be restored the sum of $73,272.75.  All of the facts relating to the first issue have been stipulated by the parties in writing, and upon the basis thereof the Board makes the following FINDINGS OF FACT.  1.  Petitioner is a corporation organized under the laws of the State of Iowa, and during the taxable years 1918 and 1919 was engaged in business as a wholesale grocer.  *306  2.  The taxes in controversy are income and excess-profits taxes for the taxable years 1918 and 1919, in the amounts of $17,028.67 and $6,135.97, respectively.  3.  In listing its merchandise inventory at the close of business on December 31, 1918, petitioner priced such inventory at cost or market, whichever was lower.  4.  The accounting firm which made an audit of petitioner's books of account as of December 31, 1918, reduced the amount of its closing inventory for that year by $36,903.73.  5.  The said sum of $36,903.73 represents 1 1/2 per cent of the total amount of the closing*3273  inventory for the taxable year 1918, and reflects the average cash discount taken upon the items in said closing inventory.  6.  In accordance with the findings of said accounting firm, entries were made on the inventories and books of petitioner reducing the closing inventory and net income of petitioner for the said taxable year 1918 by $36,903.73.  7.  The income and excess-profits-tax return of petitioner for the taxable year 1918 was made and filed showing a net income determined after reducing the closing inventory for the taxable year 1918 by the said sum of $36,903.73.  8.  Petitioner did not reduce its opening inventory for the taxable year 1918 by the 1 1/2 per cent average cash discount referred to in paragraph 5 hereof.  9.  In determining the deficiency in taxes involved for the taxable year 1918, respondent increased petitioner's net income by the amount of $36,903.73.  10.  In listing its merchandise inventory at the close of business on December 31, 1919, the petitioner priced such inventory at cost or market, whichever was lower.  11.  Petitioner reduced the amount of its closing inventory for the taxable year 1919 by $44,106.17.  12.  The said sum of*3274  $44,106.17 represents 1 1/2 per cent of the total amount of the closing inventory for the taxable year 1919, and reflects the average cash discount taken upon the items in said closing inventory.  13.  In determining its net income for the taxable year 1919, petitioner used as its opening inventory for said taxable year the closing inventory of the taxable year ended December 31, 1918, as reduced by the said sum of $36,903.73, heretofore referred to.  14.  As a result of the reduction of its closing inventory as of December 31, 1919, by $44,106.17, petitioner reduced its net income for that taxable year by $7,202.44.  *307  15.  In determining the deficiency taxes in controversy for the year 1919, respondent increased petitioner's net income by the amount of $7,202.44.  16.  In the years prior to the taxable years 1918 and 1919 petitioner took its inventories on the basis of cost or market, whichever was lower.  17.  Subsequent to the taxable year 1919 petitioner took its inventories on the basis of cost or market, whichever was lower.  18.  The average cash discount of 1 1/2 per cent was not in exess of the actual average rate which had been allowed petitioner by*3275  its vendors at the time of payment for itsm included in its inventories.  19.  The allowance of cash discounts in 95 per cent of the cases was granted to petitioner for payment of the amount of the invoice within 10 days from the date of the invoice.  OPINION.  LANSDON: In accordance with the provisions of the stipulation, the invested capital for 1918, as determined by the respondent in the deficiency notice, should be increased by the sum of $73,272.75.  There remains but one issue for decision - that relating to the additions made by the respondent to the inventories of 1918 and 1919 in the amounts of $36,903.73 and $44,106.17, respectively, resulting from the disallowances of the deductions taken for cash discounts.  The parties have stipulated that prior to 1918 and subsequent to 1919 the petitioner priced its inventories at cost or market, whichever was lower; and we understand this part of the stipulation to mean that, except for 1918 and 1919, the two years in controversy, the basis for petitioner's valuations of its inventories consistently has been cost or market, whichever was lower, without regard to cash discounts.  The parties stipulated further that the inventories*3276  for 1918 and 1919 were first valued by the petitioner at cost or market, whichever was lower, and from the total of each it deducted 1 1/2 per centof the total, or the sums of $36,093.73 and $44,106.17, respectively, as the average cash discounts on the merchandise in the inventories; that the average cash discount of 1 1/2 per cent was not in excess of the actual average rate which had been allowed petitioner by its vendors at the time of payment for items included in the inventories; and that the allowances of cash discounts, in 95 per cent of the cases, were granted to petitioner for payment of the invoices within 10 days from the dates thereof.  The applicable statutory provisions are found in section 203 of the Revenue Act of 1918, and are as follows: That whenever in the opinion of the Commissioner the use of inventories is necessary in order clearly to determine the income of any taxpayer, inventories *308  shall be taken by such taxpayer upon such basis as the Commissioner, with the approval of the Secretary, May prescribe as conforming as nearly as may be to the best accounting practice in the trade or business and as most clearly reflecting the income.  The regulations*3277  of the Commissioner, promulgated in pursuance of the foregoing provisions of the statute, so far as material here, are as follow: ART. 1582.  Valuation of inventories. - Inventories must be valued at (a) cost or (b) cost or market, whichever is lower.  * * * ART. 1583.  Inventories at cost. - Cost means: (1) In the case of merchandise purchased, the invoice price less trade or other discounts, except strictly cash discounts, approximating a fair interest rate, which may be deducted or not at the option of the taxpayer, provided a consistent course is followd.  * * * ART. 1584.  Inventories at market. - Under ordinary circumstances, "market" means the current bid price prevailing at the date of the inventory for the particular merchandise in the volume in which ordinarily purchased by the taxpayer * * *.  Our inquiry is definitely limited by the pleadings and stipulated facts to whether the petitioner, under the provisions of the statute and the respondent's regulations, may reduce its inventories for 1918 and 1919, valued at cost or market, whichever is lower, by the average cash discounts taken on the merchandise comprising its inventories.  No question*3278  is raised as to the validity of the respondent's regulations relating to the valuation of inventories; rather, the petitioner demurs thereto, and relying upon the exception in subparagraph (1) of article 1583 - "except strictly cash discounts, approximating a fair interest rate, which may be deducted or not at the option of the taxpayer, provided a consistent course is followed," contends that it was required by the respondent's own regulations to reduce its inventories by the cash discounts taken on the merchandise included therein, since the average cash discount of 1 1/2 per cent for 10 days "is equivalent to 36 1/2 per cent per year and greatly in excess of a fair interest rate." Respondent takes the position that the petitioner has not followed a consistent course in its treatment of cash discounts, with the result that the net income of the years in controversy is not clearly reflected by the method adopted by petitioner for those years.  Two methods of accounting for purchase cash discounts are in general use in business, and both have their advocates among the leading accounting authorities.  Under one method, the discounts, are deducted from the invoice prices and only the*3279  net amounts are charged against purchases.  Under the other method the gross invoice prices are charged against purchases and cash discounts allowed are accounted for as financial income arising from the employment of business funds.  It was undoubtedly in recognition of the fact that both of these methods were in general use, and that the effect of either on net income is the same, that taxpayers were extended the *309  option in article 1583 of Regulations 45 to deduct or not to deduct from invoice prices the cash discounts, approximating a fair interest rate, provided a consistent course is followed.  In the assignment of values to merchandise in the inventory at the close of the year due regard must be had for the method followed in the treatment of cash discounts.  If cash discounts are deducted from invoice prices and only the net amounts are charged against purchases, a like procedure must be followed in the valuation of inventories and merchandise included therein priced at the net invoice prices.  On the other hand, if the practice is to charge the gross invoice price to purchases and account for the discounts as income, the merchandise in the inventory must be priced*3280  at gross invoice prices, i.e., without deduction of cash discounts.  The rule is partially stated on Office Decision 326, promulgated by respondent in Cumulative Bulletin No. 1, p. 56, as follows: Taxpayers who as a matter of settled practice do not deduct cash discounts from purchases, but who take the merchandise purchased into their inventories at invoice price (less trade or other discounts other than strictly cash discounts), carrying the discounts in a discount account, may not, in valuing their closing inventories for income tax purposes, deduct from the invoice price of the merchandise on hand at the close of the taxable year the average amount of cash discount received on such merchandise; neither may the amount of cash discount earned, to be reported as income, be decreased by an amount representing the estimated cash discount received on merchandise on hand at the close of the year.  Stated briefly, the rule is that whatever the method employed in accounting for cash discounts, it must be consistently applied in the entire scheme of accounting which includes the valuation of the inventory on hand at the close of the year.  What method the petitioner may have employed*3281  in accounting for cash discounts, we do not know.  The record is entirely silent in that respect.  It could not price its inventories at net invoice prices, unless it followed the practice of taking its purchases into its accounts at net invoice prices.  The respondent increased the inventories by the amounts deducted for cash discounts, the effect of which was to value the merchandise therein at gross invoice prices, and, in the absence of evidence to the contrary, we must assume that the respondent's action was in conformity with petitioner's practice as to the treatment of cash discounts.  Such being the case, we could not sanction the valuing of the inventories upon a basis inconsistent with that practice.  Article 1583 of Regulations 45, quoted above, requires, by implication at least, that in valuing the inventories at cost invoice prices shall be reduced by cash discounts in excess of a fair interest rate.  The theory of this requirement is that so-called "cash discounts" in excess of a fair interest rate are not strictly cash discounts, but are in the nature of rebates or trade discounts, and are to be regarded and treated as reductions of invoice or purchase prices.  Petitioner*3282 *310  contends that the cash discounts allowed to it during 1918 and 1919, averaging 1 1/2 per cent for 10 days, are greatly in excess of a fair interest rate, and, therefore, are not within the optional provisions of article 1583 of Regulations 45, but must be deducted from invoice prices in valuing the inventories.  Whether a specific allowance is to be considered as a cash discount is a question of fact to be determined according to the evidence.  No general rule as to what discounts approximate a fair interest rate can be laid down, because of the many and divergent factors to be considered, such as prevailing interest rate in the particular locality, trade or business customs and practices, and other relevant circumstances.  The burden of proof that the cash discounts allowed to its were in excess of a fair interest rate was upon the petitioner.  We can make no inferences based on the equality of a translation of a discount rate from a period of days to one of a year; the comparison may be, and usually is, a wholly improper one.  The only fact in this connection which we have been able to find is that stipulated by the parties - "That the average cash discount of 1 1/2 per*3283  cent was not in excess of the actual average rate which had been allowed petitioner by its vendors at the time of payment for items included in its inventories." Standing alone, this stipulated fact manifestly indicates a discount rate of "1 1/2 per cent for 10 days" to be usual and customary in petitioner's particular line of business.  Without clear and convincing proof to support the allegation, we are not disposed to hold with petitioner that the cash discounts allowed to it exceeded a fair interest rate and partook of the nature of rebates or trade discounts which must be deducted from invoice prices in valuing the inventories.  The reasons advanced by respondent for his action are sound.  The option to deduct or not to deduct cash discount, extended by article 1583 of Regulations 45, is obviously not one which may be exercised in every taxable year.  Once the option is exercised, the particular method adopted must be followed consistently until permission is given to make a change or a clear reflection of income necessitates that a change be made.  Any other course would lead to distortions in income, and the net income of the year in which the change is made will not be clearly*3284  reflected.  Such would be the case if we permitted the petitioner to value its inventory for 1918 on the basis for which it contends.  The opening inventory for that year was valued on the basis of cost or market, whichever is lower, without regard to cash discounts, while it seeks to value the closing inventory at cost or market, whichever is lower, less cash discounts.  This it may not do.  Appeal of Thomas Shoe Co.,1 B.T.A. 124"&gt;1 B.T.A. 124; Higginbotham-Bailey-Logan Co.,8 B.T.A. 566"&gt;8 B.T.A. 566; Leedom &amp; Worrall Co.,10 B.T.A. 825"&gt;10 B.T.A. 825; Holeproof Hosiery Co.,11 B.T.A. 547"&gt;11 B.T.A. 547. Decision will be entered under Rule 50.